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FILED IN OPEN COURT
UNITED STATES DISTRICT COURT JACKSONVILLE, FLORIDA
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION 2}23/ 2a
U.S. DISTRICT COURT
UNITED STATES OF AMERICA MIDDLE DISTRICT OF FLORIDA
Vv. Case No. 3:21-cr-48(S1)-TJC-PDB

KIMBERLY MICHELLE CLARIDY WALKER

 

UNITED STATES’ NOTICE OF MAXIMUM PENALTIES,
ELEMENTS OF OFFENSE, PERSONALIZATION OF ELEMENTS,
AND FACTUAL BASIS

COMES NOW the United States of America, by and through the undersigned

Assistant United States Attorney, stating as follows:

A. MAXIMUM PENALTIES

The defendant has expressed a desire to enter pleas of guilty to the
charges in the superseding Indictment. Count One charges the defendant with
conspiracy to distribute and to possess with intent to distribute alpha-PVP and
MDMA, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C). The maximum
penalties for Count One are a term of imprisonment of not more than 20 years, a fine
of not more than $1,000,000, or both a term of imprisonment and a fine, a term of
supervised release of at least three years, and a special assessment of $100, which is

due on the date of sentencing. A violation of the terms and conditions of supervised

release is punishable by a maximum sentence of not more than two years of
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additional imprisonment as well as the possibility of an additional term of supervised
release.

Count Four charges the defendant with conspiracy to commit money
laundering, in violation of 18 U.S.C. §§ 1956(h) and 1956(a)(1)(B). The maximum
penalties for Count Four are a term of imprisonment of not more than 20 years, a
fine of $500,000 or twice the value of the property involved in the money laundering
transactions, whichever is greater, or both a term of imprisonment and a fine, a term
of supervised release of not more than three years, and a special assessment of $100,
which is due on the date of sentencing. A violation of the terms and conditions of
supervised release is punishable by a maximum sentence of not more than two years
of additional imprisonment as well as the possibility of an additional term of
supervised release.

Cumulatively, the total maximum penalties for both counts are a term
of imprisonment of not more than 40 years, a fine of not more than $1,500,000 or
twice the value of the property involved in the money laundering transactions,
whichever is greater, or both a term of imprisonment and a fine, a term of supervised
release of at least three years, and a special assessment of $200, which is due on the
date of sentencing. A violation of the terms and conditions of supervised release is
punishable by a maximum sentence of not more than four years of additional

imprisonment as well as the possibility of an additional term of supervised release.
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In addition, pursuant to 21 U.S.C. § 853(a)(1) and (2), the defendant

must forfeit any property constituting, or derived from, any proceeds obtained,

directly or indirectly, as a result of the offense alleged in Count One, and any

property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, the offense, and pursuant to 18 U.S.C. § 982(a)(1), the

defendant must forfeit any property, real or personal, involved in the offense alleged

in Count Four, or any property traceable to such property.

B.

ELEMENTS OF THE OFFENSES

The elements of Count One are:

(1)

(2)

Two or more people in some way agreed to try to
accomplish a shared and unlawful plan to distribute or to
possess with intent to distribute controlled substances; and

The defendant knew the unlawful purpose of the plan and
willfully joined in it.

The elements of Count Four are:

(1)

(2)

Two or more people agreed to try to accomplish a common and
unlawful plan to commit money laundering, in violation of 18
U.S.C. § 1956; and

The defendant knew about the plan’s unlawful purpose and
voluntarily joined in it.

The elements of a violation of 18 U.S.C. § 1956 are:

(1)

(2)

The defendant knowingly conducted or tried to conduct a
financial transaction;

The defendant knew that the money or property involved in the
transaction were the proceeds of some kind of unlawful activity;
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(3) The money or property came from an unlawful activity,
specifically conspiracy to distribute and to possess with intent to
distribute controlled substances, as alleged in Count One of the
superseding Indictment; and

(4) The defendant knew that the transaction was designed, in whole
or in part, to conceal or disguise the nature, location, source,
ownership, or control of the proceeds, or the defendant
participated in the transaction to avoid a transaction-reporting
requirement under state or Federal law.

C. PERSONALIZATION OF ELEMENTS

As to Count One:

Le Beginning in or about July, 2018, and continuing until on or
about April 13, 2021, in Duval County, in the Middle District of Florida, did you
and at least one other person agree to try to accomplish a shared and unlawful plan
to distribute and to possess with intent to distribute alpha-PVP and MDMA, each
being a Schedule I controlled substance?

2 Did you know the unlawful purpose of the plan and willfully join
in it?

As to Count Four:

Le In or about April 2019, July 2019, and January 2020, in Duval
County, in the Middle District of Florida, did you and at least one other person agree

to try to accomplish a common and unlawful plan to commit money laundering, as

alleged in the superseding Indictment?
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Ds Did you know about the plan’s unlawful purpose and voluntarily
join in it?

D. FACTUAL BASIS

1. Purpose

The following facts are set forth to aid the Court in making an inquiry
to satisfy it that there is a factual basis for the plea of guilty in accordance with Rule
11(b)(3), Fed. R. Crim. P. The government reserves its right to provide all relevant
information concerning the defendant and the offense committed to the Probation
Office and the Court for sentencing purposes.

A. Facts

The defendant KIMBERLY MICHELLE CLARIDY WALKER and
co-defendant Neal Merrell Walker were the leaders of a drug trafficking organization
in Jacksonville, Florida. Beginning in July 2018, at the latest, and continuing until
April 13, 2021, the organization distributed drugs from a “trap house” in
Jacksonville that was controlled by the defendant and Neal Walker. A “trap house”
is a residence out of which illegal narcotics are sold. Sellers at the trap house
worked in regular shifts, usually three per day, and the trap house was almost always
staffed by at least one seller, 24 hours a day. When a seller finished his shift, he
provided the defendant with a count of the drugs remaining at the house and of the
money that had been made from the drug sales. The defendant then told the seller

how much he could take out of the money as his pay, which was about 25% of the
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money collected from the sales. The sellers also told her when they were getting
low on drugs and she would arrange for more drugs to be brought to the trap house
and for the packaging of additional drugs, if necessary.

During each shift, sellers at the trap house sold an average of
approximately 44 grams of «-Pyrrolidinopentiophenone, or alpha-PVP, or similar
synthetic cathinones such as Eutylone or alpha-PiHP, all of which are sometimes
called “flakka” and are Schedule I controlled substances, and approximately 3.4
grams of 3,4-methylenedioxymethamphetamine, or MDMA, or similar
amphetamine-like drugs, all of which are sometimes called “molly” and are Schedule
I controlled substances. During a search of the Walkers’ residence on April 13,
2021, agents recovered, among other things, a large amount alpha-PVP or similar
drugs, a large amount of MDMA or simular drugs, drug packaging material, and
digital scales.

During the investigation, agents seized the following property, all of
which was property constituting, or derived from, proceeds obtained, directly or
indirectly, as a result of the drug trafficking conspiracy alleged in Count One:

a. $148,023.75 in U.S. currency seized during the search of 7253
Michael Terrace, Jacksonville, Florida, on April 13, 2021,

b. $606.86 in U.S. currency (originally Jamaican currency,
converted to U.S. currency) seized during the search of 7253
Michael Terrace, Jacksonville, Florida, on April 13, 2021,

C, $8,768 in U.S. currency seized during the search of 6845
Arlington Expressway, Jacksonville, Florida, on April 13, 2021,
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d. $5,000 in U.S. currency seized during the search of 1044 E. 14™
Street, Jacksonville, Florida, on April 13, 2021,

e $654.31 in U.S. currency seized during the search of 1044 E. 14"
Street, Jacksonville, Florida, on April 13, 2021,

E $4,387.76 seized from a Navy Federal Credit Union checking
account, number ending in 4435, in the name of K&N Lawn N
Pressure Washing Service LLC,

a 2015 BMW 5501, VIN WBAKN9CS58FD960901,
h. a 2015 Lexus IS 250, VIN JTHBF1D2XF5052478,
ds a 2013 Audi AS L Quattro, VIN WAURGAFD7DN001297,

j. a 2020 Ryker Rally Edition motorcycle, VIN
3JB2GEG25LJ000932,

k. a Jimenez Arms .380 caliber pistol, serial number 287597,
1. a 30 round Scherer magazine,

m. a15round Glock magazine,

n. assorted ammunition,

oO. a Rolex Datejust watch, seized during the search of 7253 Michael
Terrace, Jacksonville, Florida, on April 13, 2021,

p. a Rolex Day-Date watch, seized during the search of 7253
Michael Terrace, Jacksonville, Florida, on April 13, 2021,

q. a gold necklace containing large lion head charm with clear and
red stones, seized during the search of 7253 Michael Terrace,
Jacksonville, Florida, on April 13, 2021,

E a gold necklace with small lion head charm, seized during the
search of 7253 Michael Terrace, Jacksonville, Florida, on
April 13, 2021,

S. a large gold chain link bracelet, seized during the search of 7253
Michael Terrace, Jacksonville, Florida, on April 13, 2021,

t a gold chain link necklace containing clear stones, seized during

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ad.

the search of 7253 Michael Terrace, Jacksonville, Florida, on
April 13, 2021,

a gold diamond cut bracelet, seized during the search of 7253
Michael Terrace, Jacksonville, Florida, on April 13, 2021,

a gold bracelet with circular flowers and clear stones, seized
during the search of 7253 Michael Terrace, Jacksonville, Florida,
on April 13, 2021,

a gold bracelet containing large X’s with clear stones, seized
during the search of 7253 Michael Terrace, Jacksonville, Florida,
on April 13, 2021,

a gold bracelet containing smaller X’s with clear stones, seized
during the search of 7253 Michael Terrace, Jacksonville, Florida,
on April 13, 2021,

a Christian Louboutin purse, seized during the search of 7253
Michael Terrace, Jacksonville, Florida, on April 13, 2021,

a Christian Louboutin belt, seized during the search of 7253
Michael Terrace, Jacksonville, Florida, on April 13, 2021, and

Versace shoes, size 38, seized during the search of 7253 Michael
Terrace, Jacksonville, Florida, on April 13, 2021.

During the investigation, agents discovered that in April 2019, July

2019, and January 2020, the defendant and others engaged in money laundering.

From April 8, 2019, through April 10, 2019, the defendant and two co-conspirators

made seven cash deposits in amounts of less than $10,000 into three different

accounts at two different credit unions, with the cash deposits totaling $21,640.

During the same time period, the defendant and the co-conspirators obtained three

cashier’s checks with the deposited money, with the checks totaling $21,630. The

defendant used the checks to obtain ownership of a property in Jacksonville by
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paying off the remaining balance of an existing loan secured by a mortgage in the
amount of $21,630. The property then was deeded to the defendant and one of her
relatives.

On July 17 and July 18, 2019, the defendant and six co-conspirators
made seven cash deposits in amounts of Jess than $10,000 into seven different
accounts at three different credit unions, with the cash deposits totaling $53,005.
During the same time period, the defendant and the co-conspirators obtained seven
cashier’s checks with the deposited money, with the checks totaling $53,000. The
defendant and Neal Walker used the checks to obtain ownership of three properties
in Jacksonville by purchasing tax deeds from the government of Duval County for a
total of $53,199. The property was then deeded to a business entity owned and
controlled by the defendant and Neal Walker.

On January 16, 2020, the defendant and six co-conspirators made
eleven cash deposits in amounts of less than $10,000 into seven different accounts at
two different credit unions, with the cash deposits totaling $45,540. During the
same time period, the defendant and the co-conspirators obtained seven cashier’s
checks with the deposited money, with the checks totaling $45,323.01. The
defendant and Neal Walker used the checks to obtain ownership of two properties in
Jacksonville by purchasing tax deeds from the government of Duval County for a
total of $45,323.10. The property was then deeded to another business entity owned

and controlled by the defendant and Neal Merrell Walker.
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The cash deposited in these financial transactions were, as the

defendant knew, proceeds of illegal drug trafficking. As the defendant also knew,

the transactions—including the cash deposits, the obtaining of the cashier’s checks,

and the purchase of the properties—were designed to conceal and disguise the

nature, location, source, ownership, and control of the proceeds. As she further

knew, the purpose of depositing the cash in amounts of less than $10,000 was to

avoid a transaction-reporting requirement under Federal law.

Respectfully submitted,

ROGER B. HANDBERG
United States Attorney

x-——

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CERTIFICATE OF SERVICE
I hereby certify that on February 23, 2022, the foregoing was filed in open
court and a copy was provided to the following:

Dale C. Carson, Esq.
Jessica M. Goldsborough, Esq.

ARNOLD B. CORSMEIER
Assistant United States Attorney

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